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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


TAYLOR BUDOWICH, et al.,

                      Plaintiffs,                                  Case No. 1:21-cv-3366-JEB
       v.

NANCY PELOSI, et al.,

                      Defendants.




                CONGRESSIONAL DEFENDANTS’ MOTION TO DISMISS

       Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendants the

Honorable Nancy Pelosi, the Honorable Bennie G. Thompson, the Honorable Elizabeth L.

Cheney, the Honorable Adam B. Schiff, the Honorable Jamie B. Raskin, the Honorable Susan E.

Lofgren, the Honorable Elaine G. Luria, the Honorable Peter R. Aguilar, the Honorable

Stephanie Murphy, the Honorable Adam D. Kinzinger, and the Select Committee to Investigate

the January 6th Attack on the United States Capitol respectfully move for an order dismissing

Plaintiffs’ Amended Complaint (February 18, 2022) (ECF No. 30). For the reasons set forth in

the accompanying Memorandum of Points and Authorities, the Amended Complaint should be

dismissed with prejudice.

       A proposed order is attached.
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                           Respectfully submitted,


                           /s/ Douglas N. Letter
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March 25, 2022




*
    Appearing pursuant to 2 U.S.C. § 5571(a).




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 25, 2022, I caused the foregoing Congressional

Defendants’ Motion to Dismiss and the accompanying Memorandum of Points and Authorities

in Support to be filed via the CM/ECF system for the U.S. District Court for the District of

Columbia, which I understand caused a copy to be served on all registered parties.



                                                     /s/ Douglas N. Letter
                                                     Douglas N. Letter
